8:05-cr-00163-LSC-TDT             Doc # 445       Filed: 04/24/14        Page 1 of 1 - Page ID # 1055



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                             )
                                                      )
                         Plaintiff,                   )
                                                      )                    8:05CR163
                vs.                                   )
                                                      )                      ORDER
DANIEL CERNA,                                         )
                                                      )
                         Defendant.                   )

        Defendant Daniel Cerna (Cerna) appeared before the court on April 24, 2014, on the Petition for
Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 440). Cerna was represented
by Assistant Federal Public Defender Julie B. Hansen and the United States was represented by Assistant
U.S. Attorney Thomas J. Kangior. Through his counsel, Cerna waived his right to a probable cause
hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find the Petition alleges probable cause
and Cerna should be held to answer for a final dispositional hearing before Chief Judge Laurie Smith
Camp.
        The government moved for detention. Cerna declined to present any evidence or request a
detention hearing but requested to be released pending the dispositional hearing. Since it is Cerna’s
burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that he is neither a flight
risk nor a danger to the community, the court finds Cerna has failed to carry his burden and that Cerna
should be detained pending a dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 11:00 a.m. on June 19, 2014. Defendant must be present in person.
        2.      Defendant Daniel Cerna is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 24th day of April, 2014.

                                                          BY THE COURT:

                                                          s/ Thomas D. Thalken
                                                          United States Magistrate Judge
